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 Commonwealth of Kentucky
 Cabinet for Health and Family Services


                                                                                                      Ex. B




                                 KASPER Prescriber Report Card

                                                                                           User Guide


                                                                                                    Version 3.0
                                                                                                  April 14, 2020

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1 Introduction
1.1 Background
This user guide documents the functionality included in Phase 2 of the Kentucky All Schedule
Prescription Electronic Reporting (KASPER) Prescriber Report Card. The new Prescriber Report
Card provides prescribing pattern and specialty comparison information in a concise one-page
format, and includes patient level detail to assist prescribers with identifying their patients who are
included in the potential controlled substance misuse or harm risk categories. In addition, the
Phase 2 Prescriber Report Card uses expanded specialty areas incorporated into KASPER during
2019 for the statewide and specialty comparisons, allowing more accurate peer comparison data.


1.2 Prescriber Report Card Overview
The Phase 2 KASPER Prescriber Report Card was designed in collaboration with Kentucky
prescriber licensure boards and based on stakeholder feedback from the original prescriber report
card feature. KASPER prescriber master account holders can access quarterly and annual
(calendar year) prescriber report cards. Prescriber master account holders may also authorize
one or more of their delegates to access a prescriber report card on the master account holder’s
behalf. The system provides the capability for prescribers to certify that they reviewed their annual
prescriber report card if required by a Kentucky prescriber licensure board. Please refer to Section
2 Kentucky Licensure Board Annual Report Card Certification Requirements for the status of
licensure board prescriber annual report card certification requirements. Prescriber report cards
are prepared on a quarterly and calendar year basis using KASPER controlled substance
prescription data for those periods. The quarterly and annual prescriber report cards present the
data in the same format. Prescriber master account holders and their authorized delegates can
view online or download PDF versions of the two most recent annual report cards and the four
most recent quarterly report cards.

For questions or suggestions regarding the KASPER Prescriber Report Card, please send an
email to eKASPER.Admin@ky.gov.


2 Kentucky Licensure Board Annual Report Card
  Certification Requirements
Kentucky licensure board annual report card review certification requirements as
of March 1, 2020.

 Kentucky Board of Dentistry                        Not Required
 Kentucky Board of Medical Licensure                Not Required
 Kentucky Board of Nursing                          Not Required
 Kentucky Board of Optometric Examiners             Not Required
 Kentucky Board of Podiatry                         Not Required




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3 Accessing the Prescriber Report Card
This section provides instructions on how master account holders can access their prescriber
report cards; how master account holders can authorize one or more of their delegates to access
the prescriber report cards on their behalf; and how authorized delegates can access the
prescriber report card for the master account holder.

3.1 Master Account Holder Access
Master account holders can request their quarterly and annual prescriber report cards and
manage their delegate authorizations to access the prescriber report cards on their behalf. Master
account holders can also certify they have reviewed their annual report card if required by their
licensure board.

3.1.1 Master Account Holder – Account Details Page
The first step is for master account holders to log into their KASPER account via the Kentucky
Online Gateway and select Administration from the left navigation menu of the Request Report
web page. This will display the following Account Maintenance web page.




    3.1.1.1 Annual Report Card Review and [Certification]

    In the Prescriber Report Card section on this web page, the Annual Report Cards section has
    a drop down menu that allows selection of one of the two most recent annual prescriber report
    cards.
    Please note: new Kentucky prescribers may not initially have a prior year annual report card.



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    After selecting the desired annual report card, Clicking View Report Card displays the
    selected annual report card in PDF format for viewing, printing or downloading.

    Annual Report Card Certification
    Prescribers will be notified if their licensure board requires them to certify they have reviewed
    their annual prescriber report card. Please refer to Section 2 Kentucky Licensure Board
    Annual Report Card Certification Requirements for the status of licensure board review and
    certification requirements. If the most recent annual report card has not been certified as
    reviewed, the Certify Annual Report button will be visible. Clicking on the Certify Annual
    Report button will display the “Last Verified On” message along with the current date, and log
    the certification date for compliance reporting to the licensure boards. The Certify Annual
    Report button is enabled and visible only if the most recent annual report card has not been
    certified.

    3.1.1.2 Quarterly Prescriber Report Card Review

    In the Prescriber Report Card section on this web page, the Quarterly Report Cards section
    has a dropdown menu that shows the four most recent quarterly report cards for the master
    account holder, and allows selection of any one of those quarterly report cards. After selecting
    the desired quarterly report card, Clicking View Report Card displays the selected quarterly
    report card in PDF format for viewing, printing or downloading.

    Please note: new Kentucky prescribers may not initially have prior quarterly report cards.

    3.1.1.3 Prescriber Report Card Delegate Authorization Management
    The table of delegates in the Delegate Account Information section on this web page includes
    a column with the header “Report Card Authorization”. The table lists each of the delegates
    under the master account holder along with a status of “Authorized” or “Not Authorized”.
    Master account holders have the option to authorize one or more delegates to access the
    quarterly and annual prescriber report cards on their behalf by clicking on the Authorize action
    button for an individual delegate. When a delegate is authorized, the master account holder
    may remove that authorization at any time by clicking on the Deauthorize action button.
    Authorized delegates can view and download prescriber report cards only. Delegates do not
    have the ability to certify that an annual report card has been reviewed.


3.2 Authorized Delegate Account Holder Access

Delegates can access the quarterly and annual prescriber report cards for all master account
holders who have authorized the delegate to access the prescriber report cards on their behalf.

3.2.1 Delegate Account – Landing Page

When a delegate account holder logs into KASPER they will see the following Request Report
web page.


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    Clicking Master Reports in the left navigation menu will take the delegate account holder to
    the following Prescriber Report Card, Delegate View page.

3.2.2 Prescriber Report Card, Delegate View




    3.2.2.1 Master Account Selection
    The Master Account Selection section on this web page provides a dropdown menu populated
    with a list of all Master Account Holders who have authorized the delegate to access the



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    master account holder’s prescriber report cards. If no master account holders have authorized
    the delegate to access their prescriber report cards, the dropdown is disabled and the
    following message is displayed: “No master accounts have authorized you to view prescriber
    report cards on their behalf.”

    If the delegate is authorized under one or more master account holders, the delegate can
    select the master account holder for whom they are requesting a prescriber report card.
    Controls in the Quarterly Report Cards and Annual Report Cards sections are initially
    disabled. Selecting a master account will enable the controls in those sections.




    3.2.2.2 Annual Report Card (Delegate)

    In the Prescriber Report Card section on this web page, the Annual Report Cards section has
    a drop down menu that allows selection of one of the two most recent annual prescriber report
    cards for the selected master account holder. After selecting the desired annual report card,
    Clicking View Report Card displays the selected annual report card in PDF format for viewing,
    printing or downloading.


    3.2.2.3 Quarterly Report Card (Delegate)

    In the Prescriber Report Card section on this web page, the Quarterly Report Cards section
    has a dropdown menu that shows the four most recent quarterly reports for the selected
    master account holder, and allows selection of any one of those quarterly report cards. After
    selecting the desired quarterly report card, Clicking View Report Card displays the selected
    quarterly report card in PDF format for viewing, printing or downloading.




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4 Prescriber Report Card Specifications
4.1 How the Prescriber Report Card is Generated
The KASPER Prescriber Report Card information and metrics are based on the prescriber DEA
number(s) and area of work and specialty designated in the prescriber master account holder’s
KASPER personal account information. Following are parameters used for compiling the
prescriber report cards.
   1. The quarterly and calendar year annual prescriber report cards are presented in the same
       format. The Prescriber Report Card header identifies the specific report card period.
   2. The calculations and data are based on controlled substance prescriptions reported to
       KASPER under the prescriber’s DEA number(s). Only those DEA numbers associated
       with the prescriber’s KASPER account are used to select the prescriber specific
       prescription data used for report card calculations.
   3. Compounded controlled substance medications are excluded from the prescriber report
       cards.
   4. Percentage calculations are based on the total number of patients who filled one or more
       Schedule II through V controlled substances prescriptions or refills that were written by
       the prescriber during the specified report card time period. For example, if you wrote a
       prescription on December 28, 2019 that the patient filled on January 1, 2020, that patient
       would be included in your patient count for the 2020 first quarter and annual report cards.
   5. All calculations are based on the date the prescription or refill was filled by a pharmacy or
       dispensed by a practitioner.
   6. Dispensers sometimes report erroneous numbers of units (doses), which are reported to
       KASPER as metric quantity, or the number of days supply for a prescription. The following
       edits are used for KASPER data collection, so prescription records that do not meet these
       edit criteria will not be considered in the prescriber report card calculations.
            a. Records are rejected if the unit of measure is “each” and the number of units
                (doses) is greater than 3,000.
            b. Records are rejected if the dose unit of measure is “milliliters” and the number of
                units (doses) is greater than 10,000.
            c. Records are rejected if the dose unit of measure is “grams” and the number of
                units (doses) is greater than 3,000.
            d. Records are rejected if the number of days supply is not between 1 and 365.

Following is additional information on prescriber report card data selection and metric
calculations.


4.2 Prescriber DEA number(s)
The Prescriber Report Card header lists the prescriber’s DEA number(s) that were used to select
the prescription records factored into the report card calculations. The DEA number(s) are those
specified in the prescriber’s KASPER personal account information. All Kentucky prescribers with
a KASPER account have a primary DEA number that was verified when they registered with
KASPER. Prescribers with additional DEA numbers can contact KASPER administration
(eKASPER.Admin@ky.gov) to have the additional DEA numbers added to their KASPER account
information to allow more accurate and complete report card data.




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4.3 Patient Level Information
The Phase 2 Prescriber Report Card includes patient level information to assist prescribers with
identifying patients who may be at a higher risk of controlled substance misuse or harm. Patient
name and date of birth is included for these patients beginning on page two of the report card.
     Patients who filled three or days or more of overlapping opioid analgesic prescriptions
        from all prescribers (refer to section 4.7.5)
     Patients who filled overlapping opioid analgesic and benzodiazepine/sedative
        prescriptions from all prescribers (refer to section 4.7.6)
     Patients who filled controlled substance prescriptions from five or more different
        prescribers (refer to section 4.7.7)

4.4 Specialty Areas
The prescriber specialty is determined based on the current “area of work” in the master account
holder’s KASPER personal account information. Prescriber master account holders may modify
their primary area of work and/or specialty by selecting Administration, then Account
Maintenance on the Request Report web page. In the Master Account Information section, click
on the Select button under View Details and update the area of work/specialty as appropriate.
The specialty averages contained in the prescriber report card are based on the following area of
work/specialty selections.


         Area of Work                     Specialty
                                          Adult Gerontology - Acute Care
                                          Adult Gerontology - Primary Care
                                          Certified Registered Nurse Anesthetist
                                          Certified Nurse Midwife
                                          Family Practice
                                          Neonatal
         APRN/NP
                                          Pediatric - Acute Care
                                          Pediatric - Primary Care
                                          Psychiatric Mental Health - Adult
                                          Psychiatric Mental Health - Child & Adolescent
                                          Psychiatric Mental Health - Lifespan
                                          Women's Health
                                          Dentistry - Endodontics
                                          Dentistry - General
                                          Dentistry - Pediatric
         Dentist                          Dentistry - Oral and Maxillofacial Surgery
                                          Dentistry - Orthodontics
                                          Dentistry - Periodontics
                                          Dentistry - Prosthodontics




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                                           Allergy/Immunology
                                           Anesthesiology
                                           Cardiology/Cardiovascular Disease
                                           Dermatology
                                           Emergency Medicine
                                           Endocrinology
                                           Family/General Medicine
                                           Gastroenterology
                                           Hematology/Oncology
                                           Hospice/Palliative
                                           Internal Medicine/Hospitalist
                                           Nephrology
                                           Obstetrics and Gynecology
                                           Ophthalmology
                                           Other Specialty
                                           Otolaryngology
                                           Neurology
          Physician
                                           Pathology
                                           Pain Management/Pain Medicine
                                           Pediatric Medicine
                                           Physical Medicine/Rehabilitation
                                           Podiatry
                                           Psychiatry
                                           Pulmonary Diseases
                                           Radiation Oncology
                                           Radiology
                                           Sleep Medicine
                                           Surgery - General
                                           Surgery - Neurological
                                           Surgery - Orthopedic
                                           Surgery - Pediatric
                                           Surgery - Plastic
                                           Surgery - Vascular
                                           Urology
          Optometrist                      Optometrist
          Veterinarian                     Veterinarian


 4.5 Opioid Analgesic/Buprenorphine Considerations

 Buprenorphine is an opioid partial agonist commonly used to provide medication assisted
 treatment (MAT) of opioid use disorder. In order to help differentiate between opioids for pain
 treatment versus MAT, all buprenorphine products have been excluded from the opioid metrics,
 except for the overlapping opioid analgesic, and overlapping opioid analgesic and
 benzodiazepine/sedative metrics. The description for each opioid analgesic metric in the
 prescriber report card identifies whether buprenorphine products were included or excluded from
 the calculation. Buprenorphine products are also excluded from the morphine milligram equivalent
 dose calculations as described in Section 4.7.11 Average patient daily opioid morphine equivalent



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 dose (MED) level.


 4.6 Opioid Analgesic Morphine Milligram Equivalent Dose
    Information

 Opioid analgesic morphine milligram equivalent dose calculations are based on a morphine
 equivalent dose conversion table that is provided by the U.S. Centers for Disease Control and
 Prevention. The table does not include conversion factors for buprenorphine products based on
 the following guidance from CDC.

 “Buprenorphine products are listed in this file but do not have an associated MME conversion
 factor. The conversion factors for drugs prescribed or provided as part of medication-assisted
 treatment for opioid use disorder should not be used to benchmark against dosage thresholds
 meant for opioids prescribed for pain. These buprenorphine products, as partial opioid agonists,
 are not expected to be associated with overdose risk in the same dose-dependent manner as
 doses for full agonist opioids.”


 4.7 Prescriber Report Card Calculations
 This section documents how each specific KASPER Prescriber Report Card metric is calculated
 for the specified prescriber report card period. All calculations exclude controlled substance
 compounds. The total number of patients who filled, during the specified report card period, a
 Schedule II through V controlled substance prescription or refill that you prescribed is listed in
 the report header at the top of each page.

 4.7.1 Patients who filled your prescription for benzodiazepines or
 other sedatives
 This metric lists the number and percentage of patients who filled your prescription for one or
 more Schedule II through V benzodiazepines or other sedatives, based on the prescription date
 filled.

 Percentage calculation:
 Numerator: the number of patients for who filled your prescription for one or more Schedule II
 through V benzodiazepines/sedatives.
 Denominator: the total number of patients who filled your prescription for one or more Schedule
 II through V controlled substances.

 4.7.2 Patients who filled your prescription for stimulants
 This metric lists the number and percentage of patients who filled your prescription for one or
 more Schedule II through V stimulants, based on the prescription date filled.

 Percentage calculation:
 Numerator: the number of patients who filled your prescription for one or more Schedule II
 through V stimulants.
 Denominator: the total number of patients who filled your prescription for one or more Schedule


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 II through V controlled substances.

 4.7.3 Patients who filled your prescription for opioid analgesics
 All buprenorphine products are excluded from the calculations for this metric.

 This metric lists the number and percentage of your patients who filled your prescription for one
 or more Schedule II through V opioid analgesics based on the prescription date filled.

 Percentage calculation:
 Numerator: the number of patients who filled your prescription for one or more Schedule II
 through V opioid analgesics excluding all buprenorphine products.
 Denominator: the total number of patients who filled your prescription for one or more Schedule
 II through V controlled substances.

 4.7.4 Patients who filled your prescription for buprenorphine products
 for medication assisted treatment (MAT)
 This metric lists the number and percentage of your patients who filled your prescription for one
 or more controlled substances for buprenorphine medication assisted treatment (MAT)
 products, based on the prescription date filled.

 Percentage calculation:
 Numerator: the number of patients who filled your prescription for one or more buprenorphine
 medication assisted treatment products.
 Denominator: the total number of patients who filled your prescription for one or more Schedule
 II through V controlled substances.

 4.7.5 Patients filling three or more days of overlapping opioid
 analgesic prescriptions from all prescribers
 This metric lists the number and percentage of your patients who filled your prescription for one
 or more Schedule II through V controlled substances, who also filled three or more days of
 overlapping opioid analgesic prescriptions from any prescribers based on the prescription date
 filled. An overlapping prescription you wrote will be included if it is active during the current
 prescriber report card period, even if the date filled was during a prior period.

 Percentage calculation:
 Numerator: the number of patients who filled your prescription for one or more Schedule II
 through V controlled substance prescriptions, who had an overlap of three days or more for
 opioid analgesic prescriptions that were prescribed by you or any other prescriber.
 Denominator: the total number of patients who filled your prescription for one or more Schedule
 II through V controlled substance prescriptions.

 4.7.6 Patients filling overlapping opioid analgesic and
 benzodiazepine/sedative prescriptions from all prescribers
 This metric lists the number and percentage of your patients who filled your prescription for one
 or more Schedule II through V controlled substances, who also received overlapping opioid



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 analgesic and benzodiazepine/sedative prescriptions from any prescribers based on the
 prescription date filled. An overlapping prescription you wrote will be included if it is active
 during the current prescriber report card period, even if the date filled was during a prior period.

 Percentage calculation:
 Numerator: the number of patients who filled your prescription for one or more Schedule II
 through V controlled substance prescriptions, who had an overlap of any number of days for
 opioid analgesic prescription(s) along with benzodiazepine/sedative prescription(s), that were
 prescribed by you or any other prescriber.
 Denominator: the total number of patients who filled your prescription for one or more Schedule
 II through V controlled substance prescriptions.

 4.7.7 Patients filling controlled substance prescriptions from five or
 more different prescribers
 This metric lists the number and percentage of patients who filled your prescription for one or
 more Schedule II through V controlled substance prescriptions, who are receiving controlled
 substance prescriptions from five or more different prescribers including yourself, based on the
 prescription date filled.

 Percentage calculation:
 Numerator: the number of patients who filled your prescription for one or more Schedule II
 through V controlled substance prescriptions, who received controlled substance prescriptions
 from a total of five or more different prescribers including yourself.
 Denominator: the total number of patients who filled your prescription for one or more Schedule
 II through V controlled substance prescriptions.

 4.7.8 Prescribing comparison for opioid analgesics excluding
 buprenorphine products
 All buprenorphine products are excluded from the calculations for this metric.

 This metric lists the total number of Schedule II through V opioid analgesic prescriptions and
 units (doses) filled during the report card period that you wrote, based on the prescription date
 filled. Your prescription and unit figures are compared with the following.
       The average number of opioid analgesic prescriptions and units filled during the report
          card period that were written by Kentucky prescribers (the prescriber used a DEA
          number with a Kentucky address). This average is calculated by dividing the total
          number of opioid analgesic prescriptions and units written by Kentucky prescribers, by
          the total number of Kentucky prescribers who wrote at least one opioid analgesic
          prescription.
       The average number of opioid analgesic prescriptions and units filled during the report
          card period that were written by all prescribers with an active KASPER account matching
          your area of work and specialty. This average is calculated by dividing the total number
          of opioid analgesic prescriptions and units written by active KASPER account holders
          matching your area of work and specialty, by the total number of active KASPER
          account holders matching your area of work and specialty who wrote at least one opioid
          analgesic prescription.



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 4.7.9 Prescribing comparison for benzodiazepines/other sedatives
 This metric lists the total number of Schedule II through V benzodiazepine/sedative
 prescriptions and units (doses) filled during the report card period that you wrote, based on the
 prescription date filled. Your prescription and unit figures are compared with the following.
     The average number of benzodiazepine/sedative prescriptions and units filled during the
        report card period that were written by Kentucky prescribers (the prescriber used a DEA
        number with a Kentucky address). This average is calculated by dividing the total
        number of benzodiazepine/sedative prescriptions and units written by Kentucky
        prescribers, by the total number of Kentucky prescribers who wrote at least one
        benzodiazepine/sedative prescription.
     The average number of benzodiazepine/sedative prescriptions and units filled during the
        report card period that were written by all prescribers with an active KASPER account
        matching your area of work and specialty. This average is calculated by dividing the total
        number of benzodiazepine/sedative prescriptions and units written by active KASPER
        account holders matching your area of work and specialty, by the total number of active
        KASPER account holders matching your area of work and specialty who wrote at least
        one benzodiazepine/sedative prescription.

 4.7.10 Prescribing comparison for stimulants
 This metric lists the total number of Schedule II through V stimulant prescriptions and units
 (doses) filled during the report card period that you wrote, based on the prescription date filled.
 Your prescription and unit figures are compared with the following.
     The average number of stimulant prescriptions and units filled during the report card
        period that were written by Kentucky prescribers (the prescriber used a DEA number
        with a Kentucky address). This average is calculated by dividing the total number of
        stimulant prescriptions and units written by Kentucky prescribers, by the total number of
        Kentucky prescribers who wrote at least one stimulant prescription.
     The average number of stimulant prescriptions and units filled during the report card
        period that were written by all prescribers with an active KASPER account matching your
        area of work and specialty. This average is calculated by dividing the total number of
        stimulant prescriptions and units written by active KASPER account holders matching
        your area of work and specialty, by the total number of active KASPER account holders
        matching your area of work and specialty who wrote at least one stimulant prescription.

 4.7.11 Average patient daily opioid analgesic morphine equivalent
 dose (MED) level
 All buprenorphine products are excluded from the calculations for this metric.

 This metric lists the average daily morphine equivalent dose (MED) level that you prescribed for
 patients who filled your prescription for one or more opioid analgesics during the report card
 period. Your average daily MED is compared with the following.
      The average daily MED level for opioid analgesics that were written by Kentucky
         prescribers (the prescriber used a DEA number with a Kentucky address). This average
         is calculated by dividing the total patient daily morphine equivalent units (doses) for
         opioid analgesics written by Kentucky prescribers, by the total number of Kentucky
         prescribers who wrote at least one opioid analgesic prescription.



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       The average daily MED level for opioid analgesics that were written by all prescribers
        with an active KASPER account matching your area of work and specialty. This average
        is calculated by dividing the total patient daily morphine equivalent units for opioid
        analgesics written by active KASPER account holders matching your area of work and
        specialty, by the total number of active KASPER account holders matching your area of
        work and specialty who wrote at least one opioid analgesic prescription.




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 5 Prescriber Report Card Example




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